Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 1 of 14   PageID #:
                                    932



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 Attorneys for Defendants
 INVESTORS FUNDING CORPORATION
 AND APT-320, LLC

                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

 ATOOI ALOHA, LLC, an Nevada         )    CIVIL NO. 16-00347 JMS RLP
 Limited Liability Company; CRAIG B. )
 STANLEY, as Trustee for THE         )    STIPULATION FOR LEAVE TO
 EDMON KELLER AND                    )    FILE THIRD PARTY COMPLAINT
 CLEAVETTE MAE STANLEY               )    AND ORDER; EXHIBIT A
 FAMILY TRUST; CRAIG B.              )
 STANLEY, individually; MILLICENT )
 ANDRADE, individually,              )
                                     )
                    Plaintiffs,      )
                                     )
 ABNER GUARINO; AURORA               )
 GAURINO; ABIGAIL GAURINO;           )
 INVESTORS FUNDING                   )
 CORPORATION, as Trustee for an      )
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 2 of 14         PageID #:
                                    933



 unrecorded Loan Participation           )
 Agreement dated June 30, 2014; APT-     )
 320, LLC, a Hawaii Limited Liability    )
 Company; CRISTETA C. OWAN, an           )
 individual; ROMMEL GUZMAN;              )
 FIDELITY NATIONAL TITLE &               )
 ESCROW OF HAWAII and DOES 1-            )
 100 Inclusive,                          )
                                         )
                Defendants.              )
 ______________________________          )
                                         )
 APT-320, LLC, a Hawaii Limited          )
 Liability Company                       )
                                         )
              Third Party Plaintiff,     )
                                         )
                                         )
 APARTMENT OWNERS OF                     )
 DIAMOND HEAD SANDS                      )
                                         )
              Third Party Defendant.     )
                                         )


             STIPULATION TO FILE THIRD PARTY COMPLAINT

       IT IS HEREBY STIPULATED AND AGREED, by and between the parties

 herein, through their respective counsel, and pursuant to Rule 15(a) of the Federal

 Rules of Civil Procedure, that Defendant and Third Party Plaintiff APT-320 (“APT-

 320”) may file a third party complaint against ASSOCIATION OF APARTMENT

 OWNERS OF DIAMOND HEAD SANDS (“Third Party Defendant AOAO”). A

 copy of the third party complaint is attached as Exhibit A.


                                         -2-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 3 of 14          PageID #:
                                    934



       This stipulation is signed by counsel for all parties who have appeared in this

 action. This stipulation may be signed in counter-parts.

       Dated: September 21, 2017

 /s/ William J. Plum
 William J. Plum
 Charles A. Price
 Attorneys for Defendant and Third Party
 Plaintiff APT-320 LLC


 /s/ Robert D. Eheler, Jr.
 John R. Remis, Jr.
 Robert D. Eheler, Jr.
 Attorneys for Defendant
 Abigail Lee Gaurino


 /s/ Dennis W. Chong Kee
 Dennis W. Chong Kee
 W. Keoni Shultz
 Christoper T. Goodin
 Attorneys for ATOOI Aloha LLC,
 Craig B. Stanley, as Trustee for
 the Edmon Keller and Cleavette Mae
 Stanley Family Trust, Craig B. Stanley,
 individually, Millicent Andrade,
 individually


 /s/ Thomas D. Yano
 Thomas D. Yano
 Attorney for Cristeta C. Owan




                                         -3-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 4 of 14         PageID #:
                                    935



 /s/ Wayne Nasser
 Wayne Nasser
 Attorney for Fidelity National Title & Escrow


       Defendant and Third Party Plaintiff APT-320 shall filed its third party

 complaint against ASSOCIATION OF APARTMENT OWNERS OF DIAMOND

 HEAD SANDS no later than 9/29/2017.

       APPROVED AND SO ORDERED.

       DATED AT HONOLULU, HAWAII, SEPTEMBER 22, 2017.



                                       _____________________________
                                       Richard L. Puglisi
                                       United States Magistrate Judge


 __________________________________________________________________
 Atooi Aloha, LLC, et al. vs. Abner Gaurino, et al.; Civil No. 16-00347 JMS RLP;
 STIPULATION FOR LEAVE TO FILE THIRD PARTY COMPLAINT AND
 ORDER




                                        -4-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 5 of 14   PageID #:
                                    936



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Attorneys for Defendants
INVESTORS FUNDING CORPORATION
AND APT-320, LLC

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAll

ATOOI ALOHA, LLC, an Nevada         )     CIVIL NO. 16-00347 JMS RLP
Limited Liability Company; CRAIG B. )
 STANLEY, as Trustee for THE         ~    DEFENDANT AND THIRD
 EDMON KELLER AND                         PARTY PLAINTIFF APT-320,
 CLEAVETTE MAE STANLEY               ~    LLC'S THIRD PARTY
FAMILY TRUST; CRAIG B.          )         COMPLAINT AGAINST
STANLEY, individually; MILLICENT)         ASSOCIATION OF APARTMENT
ANDRADE, individually,          )         OWNERS OF DIAMOND HEAD
                                     )    SANDS; SUMMONS;
                                     )
                  Plaintiffs,        )
                                          CERTIFICATE OF SERVICE
                                     )
ABNER GUARINO; AURORA                )
GAURINO; ABIGAIL GAURINO;            )
INVESTORS FUNDING                    )
 CORPORATION, as Trustee for an      ~


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Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 6 of 14                        PageID #:
                                    937


 unrecorded Loan Participation                  )
 Agreement dated June 30, 2014; APT-            )
 320, LLC, a Hawaii Limited Liability           ~
 Company; CRISTETA C. OWAN, an                  )
 individual; ROMMEL GUZMAN;                     )
 FIDELITY NATIONAL TITLE &                      )
 ESCROWOFHAWAI IandDOES 1-                      )
 100 Inclusive,                                 )
                                                )
                                                )
                       Defendants.              )
                                                )
                                                )
 APT-320, LLC, a Hawaii Limited                 )
 Liability Company                              )
                                                )
                                                )
                Third Party Plaintiff,          )
                                                )
                                                )
 APARTMENT OWNERS OF                            )
 DIAMOND HEAD SANDS                             )
                                                )
                Third Party Defendant.          ~
 \thirdparty3(a).apt

         DEFENDANT APT-320, LLC'S THIRD PARTY COMPLAINT AGAINST
        ASSOCIATION OF APARTMENT OWNERS OF DIAMOND HEAD SANDS

                Defendant and Third Party Plaintiff APT-320 ("APT-320") brings a third party

 complaint against Third Party Defendant ASSOCIATION OF APARTMENT OWNERS OF

 DIAMOND HEAD SANDS ("Third Party Defendant AOAO"), alleging as follows:

                1.     APT-320 is and was at all relevant times herein, a Hawaii limited

 liability company, with its principal place of business in the City and County of Honolulu, State of

 Hawaii.




                                                -2-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 7 of 14                          PageID #:
                                    938


                2.      Third Party Defendant AOAO is and was at all relevant times herein a Hawaii

association of apartment owners doing business in, and located in, the City and County of Honolulu,

State of Hawaii.

                3.        On or about July 2, 2014, Defendant ABIGAIL GAURINO ("Defendant

Abigail") executed a certain Interest Only Note ("Note"}, in favor of Investors Funding Corporation

("IFC"}, which Note was assigned to, possessed, and held by APT-320 on April 27, 2016, in the

original principal amount of $220,000.00.

                4.      The Note is secured by that certain Mortgage, Security Agreement

and Financing Statement dated July 2, 2014 ("Mortgage"}, executed by ABIGAIL GAURINO, as

mortgagor, in favor ofIFC, which Mortgage has been assigned to APT-320, as mortgagee, and which

Mortgage is recorded in the Bureau of Conveyances of the State of Hawaii as Document No. A-

 53050265. The property which is more fully described in the Mortgage is that certain real property

located at 3721 K.anaina Street, #320, Honolulu, Hawaii 96815-4405, identified by Tax Map Key

No. (1) 3-1-025-008, CPR No. 0088 ("Mortgaged Property'').

                5.      The Note is also secured by that certain Assignment of Lessor's

 Interest In Leases And Rents dated July 2, 2014, recorded in said Bureau of Conveyances as

 Document No. A-53050266 ("Assignment of Rents"}, which covers the Mortgaged Property. The

 Assignment of Rents has been assigned by IFC to APT-320.

                6.      The Note is further secured by a blanket security interest in, among other

 things, all leases, contracts, insurance policies and proceeds relating to the Mortgaged Property, all

 personal property located at the Mortgaged Property and all instruments, documents, general

 intangibles, permits and licenses pertaining to the Mortgaged Property ("Collateral Property''}, as

 evidenced by that certain Security Agreement dated July 2, 2014 ("Security Agreement"}, which

                                                 -3-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 8 of 14                            PageID #:
                                    939


Security Agreement has been assigned by IFC to APT-320. The Security Agreement is perfected by

that certain UCC Financing Statement recorded in said Bureau of Conveyances as Document No.

A-53050267.

                  7.    APT-320 remains the current holder and owner of the Note, Mortgage,

Assignment of Rents and Security Agreement.

                  8.     The Note matured on July 11, 2015, and Defendant Abigail has defaulted in

 the observance and performance of the terms, covenants and conditions set forth in the Note and

 Mortgage. As a result of said default, the entire amount of said obligation presently unpaid is now

due and payable as follows:

                   Principal Balance                 $220,000.00

                   Interest to 8/31/17               $ 73,031.90

                   Property Taxes                    $ 4,713.23
                   TOTAL                             $297,745.13

 plus a current per diem interest accrual of $110.00 for each day from August 31, 2017, together with

 expenses, advances, and reasonable attorneys' fees and costs.

                  9.     By reason of the facts set forth herein, APT-320 is entitled to the

 fore~losure   of the Mortgage and to the sale of the Mortgaged Property therein described.

                  10.    It is provided in the Note and Mortgage that in the event of foreclosure, APT-

 320 may be awarded all sums secured by the Mortgage, including reasonable attorneys' fees and all

 costs, expenses or advances made by APT-320 for the benefit or protection of the Mortgaged

 Property.

                  11.    Third Party Defendant AOAO may have or claim to have an interest in the

 Mortgaged Property by virtue of common expenses due and owing to Defendant AOAO in


                                                  -4-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 9 of 14                             PageID #:
                                    940


 connection with the Mortgaged Property relating to a notice oflien which lien was recorded on May

 22, 2017, in the Bureau of Conveyances of the State of Hawaii as Document No. A-63510657, and

 pursuant to Chapters 514A or B of the Hawaii Revised Statutes, as amended, which interests, if any,

 are junior or subordinate to APT-320's Mortgage, Assignment of Rents and Security Agreement.

                WHEREFORE, APT-320 prays:

                 1.      That process of this court issue commanding the Third Party Defendant

 AOAO to appear and answer this Third Party Complaint.

                2.       That upon a hearing had herein, there be ascertained the total amounts due to

 APT-320 at the time of judgment under the Note, Mortgage, Assignment of Rents and Security

 Agreement, including unpaid principal, accrued interest, late charges, expenses, advances and

 attorneys' fees and that this Court determine and decree:

                 a.      That there is due and owing to APT-320 by virtue of the

 terms of the Note, Mortgage, Assignment of Rents and Security Agreement certain sums of money,

 and that such sums of money together with legal interest, costs and attorneys' fees be declared to be

 a valid first lien upon Mortgaged Property and Collateral Property; and that this Court affix and

 determine just and reasonable attorneys' fees for APT-320's attorneys herein;

                b.       That this Court determine the priority of all liens and

 interests in Mortgaged Property and Collateral Property;

                 c.      That upon the foreclosure sale herein prayed for, Third Party Defendant

 AOAO, Plaintiffs and Defendant Abigail, and all persons claiming any interests in said Mortgaged

 Property and Collateral Property, shall be forever barred and foreclosed from all right, title, interests

 and claims at law or in equity in and to said Mortgaged Property and related Collateral Property

 covered by the Security Agreement and every part thereof;

                                                   -5-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 10 of 14                          PageID #:
                                     941


                d.    That this Court appoint a commissioner to take possession of said Mortgaged

 Property and Collateral Property and that he or she be authorized to sell the same for cash in the

 manner provided by law and other order of this Court, and that upon confirmation of such sale by

 this Court, such commissioner be authorized and directed to deliver to the purchaser or purchasers

 thereof such instruments of conveyance as may be appropriate in the premises;

                e.      That APT-320 be allowed to become a purchaser at such sale;

                f.      That after the payments of all necessary expenses of such sale

 and attorneys' fees, such commissioner be authorized and directed to make application of the

 proceeds thereof so far as the same may be necessary; first, to the payment of the sums found due

 and owing to any prior creditor, then, to APT-320 herein, including all its costs and expenses, and

 ifthere shall be a surplus, to be applied as the Court deems fit and proper.

                3.      That ifthe proceeds ofsuch sale shall be insufficient to pay the aforesaid sums

 owing to APT-320 and it shall appear that a deficiency exists, judgment be entered for such

 deficiency against Defendant Abigail, and that APT-320 be allowed to have execution thereof.

                4.      That the Court issue an order authorizing the issuance of a Writ ofPossession

 and/or Ejectment in the confirmed buyer, commanding the Sheriff or other authorized individual to

 remove all persons and parties in possession of the Mortgaged Property by, through or under

 Defendant Abigail, including any tenant(s) occupying the Mortgaged Property, and all of their

 personal belongings from the Mortgaged Property.

                 5.     That to the extent necessary, the Court declare that IFC and APT-320 are

 legally protected bona fide purchasers/mortgagees andAPT-320's Mortgage is valid and enforceable.

                6.      That, alternatively, a monetary judgment be entered in favor of APT-320 and

 against Defendant Abigail for all amounts due and owing under the Note.

                                                 -6-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 11 of 14                    PageID #:
                                     942


                7.   That APT-320 may have such and other and further relief as this Court deems

 just and proper.

                DATED: Honolulu, Hawaii, September _ _, 2017.




                                            William J. Plum
                                            Attorney for APT-320

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                                              -7-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 12 of 14   PageID #:
                                     943



                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 ATOOI ALOHA, LLC, an Nevada          )    CIVIL NO. 16-00347 JMS RLP
 Limited Liability Company; CRAIG B. )
 STANLEY, as Trustee for THE          )    SUMMONS
 EDMON KELLER AND                     )
 CLEAVETTE MAE STANLEY                )
 FAMILY TRUST; CRAIG B.               )
 STANLEY, individually; MILLICENT )
 ANDRADE, individually,               )
                                      )
                    Plaintiffs,       )
                                      )
 ABNER GAURINO; AURORA                )
 GAURINO; ABIGAIL GAURINO;            )
 INVESTORS FUNDING                    )
 CORPORATION, as Trustee for an       )
 unrecorded Loan Participation        )
 Agreement dated June 30, 2014; APT- )
 320, LLC, a Hawaii Limited Liability )
 Company; CRISTETA C. OWAN, an )
 individual; ROMMEL GUZMAN;           )
 FIDELITY NATIONAL TITLE &            )
 ESCROW OF HAWAII and DOES 1- )
 100 Inclusive,                       )
                                      )
                    Defendants.       )
 _____________________________ )
                                      )
 APT-320, LLC, a Hawaii Limited       )
 Liability Company                    )
                                      )
              Third Party Plaintiff,  )
                                      )
                                      )
                                      )
                                      )
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 13 of 14            PageID #:
                                     944



 APARTMENT OWNERS OF               )
 DIAMOND HEAD SANDS                )
                                   )
            Third Party Defendant. )
 ______________________________ )
 \summons 3rd.apt

                                     SUMMONS

 STATE OF HAWAII

 To Third Party Defendant:
 APARTMENT OWNERS OF DIAMOND HEAD SANDS

              YOU ARE HEREBY summoned and required to file with the court and

 serve upon Defendant and Third Party Plaintiff APT-320's counsel, William J. Plum,

 700 Bishop Street, Suite 2100, Honolulu, Hawaii, 96813, an Answer to

 DEFENDANT AND THIRD PARTY PLAINTIFF APT-320, LLC’S THIRD PARTY

 COMPLAINT AGAINST ASSOCIATION OF APARTMENT OWNERS OF

 DIAMOND HEAD SANDS within 21 days after service of this summons on you (not

 counting the day you received it) – or 60 days if you are the United States or a United

 States agency, or an officer of employee of the United States described in Fed. R. Civ.

 P. 12(a)(1)(a)(i). If you fail to make an answer within the 21 day limit, judgment by

 default will be taken against you for the relief demanded.

              This Summons shall not be personally delivered between 10:00 p.m. and

 6:00 a.m., on premises not open to the general public, unless a judge of the above-



                                          -2-
Case 1:16-cv-00347-JMS-RLP Document 144 Filed 09/22/17 Page 14 of 14                        PageID #:
                                     945



 entitled court permits, in writing on this Summons, personal delivery during those

 hours.

                A failure to obey this summons may result in an entry of default and

 default judgment against the disobeying person or party.

          DATED: Honolulu, Hawaii;_____________________________.



                                               _________________________________
                                               CLERK OF THE COURT




 ______________________________________________________________________________
 Atooi Aloha, LLC, et al. vs. Abner Gaurino, et al.; United States District Court for the District of
 Hawaii; Civil No. 16-00347 JMS RLP; SUMMONS



                                                -3-
